         CASE 0:20-cr-00226-ECT-TNL Doc. 40 Filed 07/20/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                                 File No. 20-cr-226 (ECT/TNL)

              Plaintiff,

v.                                                                   ORDER

Wesley Rayvon Johnson,

           Defendant.
________________________________________________________________________

       This matter is before the Court on defense co-counsel Piper Kenney Wold’s Motion

to Withdraw and for Appointment of Substitute Counsel. ECF No. 37. Under Local Rule

83.7(a), a “party’s attorney may withdraw from a case by filing and serving a notice of

withdrawal, effective upon filing, if: (1) multiple attorneys have appeared on behalf of the

party; and (2) at least one of those attorneys will still be the party’s counsel of record after

the attorney seeking to withdraw does so.” Defendant is also represented by Shannon

Elkins of the Office of the Federal Defender, who will remain as counsel of record in this

case. Accordingly,

       IT IS ORDERED that Piper Kenney Wold is discharged as counsel of record for

Defendant Wesley Rayvon Johnson.


Dated: July 20, 2021                        s/ Eric C. Tostrud
                                            Eric C. Tostrud
                                            United States District Court
